             Case 22-1006, Document 137, 12/15/2022, 3437374, Page1 of 1




                        United States Court of Appeals
                                               FOR THE
                                      SECOND CIRCUIT
                                      _________________

        At a stated term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
15th day of December, two thousand twenty-two.

Before:        Dennis Jacobs,
               Denny Chin,
               Beth Robinson,
                             Circuit Judges.


Vans, Inc., VF Outdoor, LLC.,

                              Plaintiffs-Appellees,                         ORDER

               v.                                                           22-1006

MSCHF Product Studio, Inc.,

                              Defendant-Appellant.


       The parties are hereby advised that this appeal will be held in abeyance pending the
Supreme Court’s consideration of Jack Daniel’s Properties, Inc. v. VIP Products LLC, No. 21-
16969, 2022 WL 1654040 (9th Cir. 2022), cert. granted, U.S. _, 2022 WL 17087471 (U.S.
Nov. 21, 2022) (No. 22-148). It is ORDERED that, no later than ten days after issuance of that
decision, each party shall submit to this Court a letter brief, not to exceed fifteen pages single-
spaced, addressing the effect, if any, that the Jack Daniel’s decision has on this appeal.

                                             FOR THE COURT:
                                             Catherine O’Hagan Wolfe, Clerk of Court
